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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


THE WASHINGTON POST                          :
                                             :
                Plaintiff,                   :      Civil Action No.:      06-1737 (RMU)
                                             :
                        v.                   :      Document No.:          3
                                             :
DEPARTMENT OF HOMELAND,                      :
SECURITY                                     :
                                             :
                Defendant.                   :

                                            ORDER

            GRANTING THE PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

        For the reasons stated in a Memorandum Opinion to follow, it is this 18th day of

October, 2006, hereby

        ORDERED that the plaintiff’s motion for a preliminary injunction is GRANTED, and

it is

        FURTHER ORDERED that the defendant complete the processing of the plaintiff’s

June 12, 2006 FOIA requests and produce or identify all responsive records within 10 days of

the date of this order, and it is

        ORDERED that the defendant provide the plaintiff with a declaration and document

index, as required by Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), indicating the

defendant’s justification for withholding any documents or portions thereof responsive to
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the plaintiff’s FOIA request within 10 days of this opinion.1

       SO ORDERED.


                                                                RICARDO M. URBINA
                                                               United States District Judge




       1
               After the defendant complies with the directives set forth in this order, the parties may
               file any motions they deem appropriate. If the parties seek expedited judicial resolution
               of these motions, they must clearly set forth the justification for such expedited review.
               The parties are directed to confer prior to filing such motions in an attempt to set forth a
               reasonable briefing schedule.

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